   Case 1:24-cv-02264-LDH-LB                  Document 25        Filed 09/30/24          Page 1 of 1 PageID #: 152




                                                  THT C Y OF NEWYORK                                                   Yi Liu, Esq.
MT]RIEL GOODE-TRUFANT                                                                               Assistant Corpomtion Counsel
Acting Corporation C ounse I                     L,q,w DnpanrMENT                             Labor and Employment Lrw Division
                                                     IOO CHURCH STREET                                   Telephone : (212) 35 6 -2533
                                                   NEW YORK, NY 10007-2601                                 Cell No. : (332) 323-0668




                                                                                    September 30,2024

           Via e-mail and First Class mail
           Jean Jean
           53 Periwinkle Road
           Levittown, NY 11756
          j eancommack@gmai l.com


           Kathleen Comack
           l7 Harbor Road
           Oyster Bay, NY 11771
          j eancommack@gmai l.com


           Re:          Jean et al. v. The Denartment of Education of The       of New York
                        No.: 24-CV -02264 (LDH)(LB)

           Dear Ms. Jean and Ms. Comack,

                      I am an Assistant Corporation Counsel in the office of Muriel Goode-Trufant, Acting
           Corporation Counsel of the City of New York representing Defendant, the Department of
           Education of the City of New York ("DOE"), in the above referenced action. Please find enclosed,
           for service on you, Defendant's Motion to Dismiss the Complaint.



                                                                                    Y,



                                                                            Y Liu
                                                                            Assistant Corporation Counsel
                                                                            yil@law.nyc.gov
